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 2
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 6   Attorney for Defendant
 7

 8                               UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                            :   Case No. 2:20-cr-00191-APG-DJA
11                                                        :
12                  Plaintiff,                            :
                                                          :
13                  v.                                    :      STIPULATION TO
                                                          :      CONTINUE MOTIONS
14
                                                                 DEADLINE
15   ALLEN MILLER,                                        :
                                                          :
16                  Defendant.                            :
17
            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18
     Trutanich, United States Attorney, and Bianca R. Pucci, Assistant United States Attorney,
19
     counsel for the United States of America (hereinafter “the Government”), and Nicholas
20

21   Wooldridge, Wooldridge Law Ltd., counsel for Allen Miller (“the Defendant”) (collectively,

22   “the Parties”), that the motion deadlines which were scheduled for September 13, 2020, be
23
     vacated and set to a date and time convenient for this court to align with the continued trial set
24
     for January 1, 2021, and calendar call set for December 29, 2020.
25

26
            On September 1, 2020, the parties filed a stipulation to continue the trial and motion

27   deadlines. ECF No. 35. However, the parties’ attached proposed order to that stipulation was
28   incorrect as it failed to include an extension of the motion deadlines. The parties seek to correct


                                                     1
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 1   that mistake and asks this Court to continue the motions deadline from September 13, 2020, to a
 2
     date convenient to the court that aligns with the trial currently set for January 1, 2021, and
 3
     calendar call set for December 29, 2020. ECF No. 36.
 4

 5
              The Stipulation is entered into for the following reasons:

 6            1.      The additional time requested herein is not sought for purposes of delay, but to
 7         permit counsel for the defendant to continue review discovery and conduct investigation in
 8
           this case in order to determine whether there are any issues that must be litigated and whether
 9
           the case will ultimately go to trial or will be resolved through negotiations.
10

11            2.      The defendant is incarcerated and does not object to the continuance.

12            3.      The parties agree to the continuance.
13
              4.      The additional time requested herein is not sought for purposes of delay, but
14
           merely to allow counsel for defendant sufficient time within which to be able to effectively,
15
           and complete investigation of the discovery materials provided.
16

17            5.      Denial of this request for continuance would waste limited judicial resources, and

18         deny counsel for the defendant sufficient time to effectively represent the defendant.
19
              6.      Additionally, denial of this request for continuance could result in a miscarriage
20
           of justice. The additional time requested by this stipulation is excludable in computing the
21

22
           time within which the trial herein must commence pursuant to the Federal Rules of Criminal

23         Procedure 5.1(d), the Speedy Trial Act, § 3161(h)(7)(A), considering the factors under Title
24         18, United States Code §§ 3161(h)(7)(B).
25
     ///
26
     ///
27

28   ///



                                                         2
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 1         7.     This is a First Stipulation to Continue Motions Deadline filed herein.
 2

 3   DATED: September 15, 2020

 4   WOOLDRIDGE LAW, LTD.                               NICHOLAS A. TRUTANICH
 5
                                                        U.S. Attorney

 6   By__/s/_Nicholas M. Wooldridge                     By_/s/ Bianca R. Pucci__________
     NICHOLAS M. WOOLDRIDGE                             Bianca R. Pucci
 7   Counsel for Defendant                              Assistant United States Attorney
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 1                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                              :   Case No. 2:20-cr-00191-APG-DJA
                                                            :
 4                  Plaintiff,                              :
 5
                                                            :
                    v.                                      :      STIPULATION TO
 6                                                          :      CONTINUE
     ALLEN MILLER,                                          :
 7                                                          :
 8                  Defendant.                              :

 9
                                           FINDINGS OF FACT
10

11          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

12   Court finds that:
13
            1.      Counsel for the defendant needs additional time to review discovery and conduct
14
     investigation in this case in order to determine whether there are any issues that must be litigated,
15
     and whether the case will ultimately go to trial or will be resolved through negotiations.
16

17          2.      The defendant does not object to the continuance.

18          3.      The parties agree to the continuance.
19
            4.      The additional time requested herein is not sought for purposes of delay.
20
     Denial of this request for continuance would waste limited judicial resources, and deny counsel
21

22
     for the defendant sufficient time to effectively represent the defendant

23          5.      Additionally, denial of this request for continuance could result in a miscarriage
24   of justice. The additional time requested by this Stipulation is excusable in computing the time
25
     within which the trial herein must commence pursuant to the Federal Rules of Criminal
26
     Procedure 5.1(d), and the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A),
27

28   considering the factors under Title 18, United States Code, Section 3161(h)(7)(B)(i), (iv).



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 1                                        CONCLUSIONS OF LAW
 2
             The ends of justice served by granting said continuance outweigh the best interest of the
 3
     public and the defendant in a speedy trial, since the failure to grant said continuance would be
 4

 5
     likely to result in a miscarriage of justice.

 6           The continuance sought herein is excusable under the Federal Rules of Criminal
 7   Procedure 5.1(d), and the Speedy Trial Act, title 18, United States Code, Section § 3161
 8
     (h)(7)(A), when the considering the factors under Title 18, United States Code, §
 9
     3161(h)(7)(B)(i), (iv).
10

11                                                     ORDER

12           IT IS THEREFORE ORDERED that the motions deadline is continued to November 6,
13
     2020.
14
             DATED this 18th day of September, 2020.
15

16
                                                     ____________________________________
17                                                   UNITES STATES DISTRICT JUDGE

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